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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division

In re:   JAMES A. MONCURE,                                  Case No.
         Debtor                                             14-31546-KLP

         LYNN L. TAVENNER, TRUSTEE,                         Chapter
         Plaintiff                                          7
                                                            Adv. Proc No.
         Quantico Business Center, LLC,
         QBC Properties, LLC,
         SHS Quantico, LLC,
         Dynasty Investors, LLC,
         Judson Honaker, Jr., a/k/a B. Judson Honaker,
         Jr. and
         Larry D. Silver,
         Defendants

        COMPLAINT TO AVOID TRANSFERS, TO RECOVER PROPERTY,
    FOR VIOLATION OF THE AUTOMATIC STAY, AND FOR RELATED RELIEF

         Lynn L. Tavenner, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the

“Estate”) of James A. Moncure (the “Debtor”), by undersigned counsel, files this Complaint

pursuant to §§ 105(a), 362, 541, 542, 549, 550 of 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”),

and other applicable law, for turnover, accounting, violation of the automatic stay in connection

with certain actions of the Defendants, common law conspiracy, statutory conspiracy, avoidance

of unauthorized post-petition transfers, tortious interference with an existing contract and/or

business expectancy, tortious interference with a contract expectancy, prospective business


________________________________________
Lynn L. Tavenner (VSB No. 30083)
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relationship and/or economic advantages, and aiding and abetting in various independent torts.

The Trustee, for the benefit of the Estate, seeks an accounting of any and all distributions from the

QCC (as hereafter defined) project, compensatory damages, punitive damages, fees, and costs for

the willful and intentional violation of the automatic stay, actual damages including costs and

attorneys’ fees and punitive damages including but not limited to treble damages for conspiracy,

the avoidance, recovery and preservation for the benefit of the Debtor’s Estate the value of any

post-petition transfer, actual damages as well as the imposition of a constructive trust on any and

all proceeds gained as a result contracts/business expectancies/business relationships interfered

with by the Defendants, and actual and punitive damages for the Defendants’ aiding and abetting

of independent torts:

                                         JURISDICTION

       1.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

157 and 1334.

       2.       Venue lies properly in this Court pursuant to 28 U.S.C. § 1409.

       3.       This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).

                                         THE PARTIES

       4.       The Plaintiff is Lynn L. Tavenner, the Chapter 7 Trustee (the “Trustee” or the

“Plaintiff”) of the Debtor’s Estate who was appointed as trustee on March 28, 2014.

       5.       Quantico Business Center, LLC (the “Original QBC”) is a person as defined in §

101(41) of the Bankruptcy Code residing in and/or conducting business in the United States and,

at all times material hereto, was a lender, investor, vendor, supplier, or otherwise maintained a

business relationship with the Debtor. The Debtor and Defendant were engaged in the development



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of the Quantico Corporate Center. The Defendant Original QBC is an insider of the Debtor as such

term is defined in § 101(31) of the Bankruptcy Code.

        6.     QBC Properties, LLC (the “Second QBC”) is a person as defined in § 101(41) of

the Bankruptcy Code residing in and/or conducting business in the United States. The Defendant

Second QBC is an insider of the Debtor as such term is defined in § 101(31) of the Bankruptcy

Code.

        7.     SHS Quantico, LLC (“SHS”) is a person as defined in § 101(41) of the Bankruptcy

Code residing in and/or conducting business in the United States and, at all times material hereto,

was a lender, investor, vendor, supplier, or otherwise maintained a business relationship with the

Debtor. The Debtor and Defendant SHS were engaged in the development of the Quantico

Corporate Center (as hereafter defined). The Defendant SHS is an insider of the Debtor as such

term is defined in § 101(31) of the Bankruptcy Code.

        8.     Dynasty Investors, LLC (“Dynasty”), is a person as defined in § 101(41) of the

Bankruptcy Code residing in and/or conducting business in the United States.

        9.     Judson Honaker, Jr. a/ka/ B. Judson Honaker, Jr. (“Honaker”) is a person as defined

in § 101(41) of the Bankruptcy Code residing in and/or conducting business in the United States.

The Debtor and Defendant Honaker were engaged in the development of the Quantico Corporate

Center (as hereafter defined). The Defendant is an insider of the Debtor as such term is defined in

§ 101(31) of the Bankruptcy Code.

        10.    Larry D. Silver (“Silver” and together with Original QBC, Second QBC, SHS,

Dynasty, and Honaker, the “Defendants” and each a “Defendant”) is a person as defined in §

101(41) of the Bankruptcy Code residing in and/or conducting business in the United States. The

Debtor and Defendant Silver were engaged in the development of the Quantico Corporate Center

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(as hereafter defined). The Defendant Silver is an insider of the Debtor as such term is defined in

§ 101(31) of the Bankruptcy Code.

                                        FACTUAL BACKGROUND

         11.      During the years 2001 through 2005, the Debtor conceived the idea of a corporate

technology park, procured certain land, and created the Quantico Corporate Center at Stafford

(“QCC”, also known as the “Quantico Corporate Center”). QCC is a business park located in

Stafford County, Virginia, along Interstate 95 and US 1, adjacent to Marine Corps Base Quantico.

QCC currently has a number of tenants, including major government contractors, a wide array of

businesses, colleges, and others. Upon information and belief, to facilitate the creation of the

technology park, certain property identified for the development of the QCC concept was placed

in the name of Moncure Brothers, LLC (“MB”). The Debtor is one of three members of MB, and

upon information and belief, served as the managing member through the Petition Date (as

hereinafter defined). MB subsequently partnered with entities commonly referred to as the Silver

Companies1 to develop the QCC project. The Debtor, individually, acquired certain additional

properties over the life of the project and subsequently added those properties to the QCC project.

Until shortly before the Petition Date (as hereinafter defined), the Debtor served as a managing

partner of the QCC project.

         12.      Beginning prior to January 2010 and continuing through at least March 2014, the

Debtor devised, intended to devise, and executed a scheme to defraud individuals and entities.

         13.      Over a course of many years, the Debtor solicited investors to loan him money.

Investors believed they were investing in the acquisition of land for, and development of, the QCC


1
 Entities owned, at least in part, by Carl D. Silver. Upon information and belief, Carl D. Silver is now deceased.
Upon information and believe, Larry D. Silver is the son of Carl D. Silver.

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project. The Debtor solicited investors, in part, by telling them he was acquiring land to complete

the development of the QCC project. Upon information and belief, certain investors received

promissory notes to document amounts loaned to the Debtor.

       14.     For the period beginning in January 2010 up through April 2014, investigators with

the Federal Bureau of Investigations (“FBI”) traced more than $35 million of deposits into

accounts held in the Debtor’s name. A substantial portion of these funds appears to be from

individuals or entities having, or believing to have, a financial interest or investment in the QCC

project. Certain of these funds received were clearly used for purposes other than the development

of the QCC project. For example, FBI investigators traced more than $16,000,000 as having been

transferred into investment trading accounts from which the Debtor actively day-traded stocks and

options. Analysis of the trade, deposit, and withdrawal records of these accounts reveal that the

Debtor lost more than $14,000,000 over a four-year period through poor trade results and expenses

associated with the trading accounts. The Debtor admitted the same in connection with the Plea

Agreement and Statement of Facts entered into by and between the Debtor and the United States

of America whereby the Debtor plead guilty to a count of Wire Fraud in violation of 18 U.S.C. §

1343 and Engaging in Unlawful Monetary Transactions in violation of 18 U.S.C. § 1957(a). See

Plea Agreement, United States v. Moncure, Case No. 3:14-cr-00137 (E.D. Va. Feb. 6, 2015), ECF

No. 26; Statement of Facts, United States v. Moncure, Case No. 3:14-cr-00137 (E.D. Va. Feb. 6,

2015), ECF No. 27.

       15.     As part of the Debtor’s scheme to defraud individuals and entities, the Debtor also

routinely utilized “new” investor funds to pay returns or make repayments to other investors.

Statement of Facts, United States v. Moncure, Case No. 3:14-cr-00137 (E.D. Va. Feb. 6, 2015),

ECF No. 27.

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       16.     As part of the Debtor’s scheme to defraud individuals and entities, the Debtor made

repayments on certain of the investments. Statement of Facts, United States v. Moncure, Case No.

3:14-cr-00137 (E.D. Va. Feb. 6, 2015), ECF No. 27. The Debtor also paid individuals and entities

for other goods and services he desired.

       17.     Carl D. Silver, LLC, an entity related to the Defendants, wired $400,000.00 on

September 4, 2013, to an account at Wells Fargo Bank, N.A., in the dominion and control of the

Debtor.

       18.     As part of the Debtor’s scheme to defraud individuals and entities, the Debtor on

September 5, 2013, issued check number 122 from an account under his dominion and control at

Virginia Partners Bank to David Newman for $125,000.00. Upon information and belief, Mr.

Newman is an employee and/or partial owner of one or more of the Silver Companies.

       19.     As part of the Debtor’s scheme to defraud individuals and entities, the Debtor

thereafter on September 17, 2013, wired $400,000.00 to the account of Samer and Catherine

Shalaby. On information and belief, Samer Shalaby is a member of SHS along with Larry D. Silver

and Jed Honnaker. SHS and Moncure Brothers, LLC were at one time joint owners of Quantico

Business Center, LLC, the entity that owned the land on which the QCC project was being

developed.

       20.     As part of the Debtor’s scheme to defraud individuals and entities, the Debtor on

September 18, 2013, issued check number 3052 from an account under his dominion and control

at PNC Bank to David Newman for $6,355.00.

       21.     As part of the Debtor’s scheme to defraud individuals and entities, the Debtor on

September 18, 2013, issued check number 3051 from an account under his dominion and control

at PNC Bank to David Newman for $50,000.00.

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       22.     Beginning sometime in 2013, the Debtor began to default on loan repayments to

his investors while continuing to accept new investment money as part of the Debtor’s scheme to

defraud individuals and entities.

       23.     During the fall of 2013 and the beginning of 2014, the Debtor continued his scheme

to defraud individuals and entities.

       24.     As part of the Debtor’s scheme to defraud individuals and entities, the Debtor on

February 3, 2014, issued check number 3130 from an account under his dominion and control at

Virginia Partners Bank to Samer Shalaby for $100,000.00.

       25.     As part of the Debtor’s scheme to defraud individuals and entities, the Debtor on

February 5, 2014, issued check number 3096 from an account under his dominion and control at

PNC Bank to David Newman for $10,000.00.

       26.     As part of the Debtor’s scheme to defraud individuals and entities, the Debtor on

February 10, 2014, issued check number 3137 from an account under his dominion and control at

Virginia Partners Bank to David Newman for $130,000.00.

       27.     With the Debtor’s scheme coming unraveled, on March 4, 2014, he sent a lengthy

email to his investors and business partners apologizing for certain of his indiscretions. Thereafter,

at least one of the Defendants met with the Debtor.

       28.     On March 24, 2014 (the “Petition Date”), N. Brent Higginbotham, Doris G.

Higginbotham, Katherine Higginbotham Brown, Forrest S. Higginbotham, and Thomas

Higginbotham, by certifying under penalty of perjury that each held claims against the Debtor,

instituted an involuntary bankruptcy petition in this Court against the Debtor under Chapter 7 of

the Bankruptcy Code in this Court. Thereafter, on March 27, 2014, the Debtor filed the Debtor’s



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Consent to Entry of Order for Relief. Subsequently, this Court entered an Order for Relief on

March 27, 2014.

       29.     On March 28, 2014, this Court appointed Lynn L. Tavenner as trustee of the

Debtor’s Estate, and she continues to serve as Trustee.

       30.     On August 24, 2014, the Debtor was formally charged by the United States of

America and an arrest warrant issued.

       31.     On October 7, 2014, the Debtor was officially indicted on seven counts, including

mail fraud, wire fraud, and engaging in unlawful monetary transactions.

       32.     The Debtor acknowledged his guilt, admitted to the fraudulent scheme, and was

sentenced to a term of not less than five years in a federal penitentiary.

       33.     As referenced above, the Debtor, through his interest in MB and other entities,

partnered with various Silver Companies and/or one or more of the Defendants over the years to

develop, market, and ultimately sell buildings at QCC. See Exhibit A. Quantico Business Center,

LLC Operating Agreement. On information and belief at all times relevant hereto, the Debtor

(through MB and/or other entities) and SHS (and/or related entities) were joint owners of certain

entities that owned property at the QCC. See Id. The primary vehicle for the ownership structure

was the Original QBC.

       34.     After the Petition Date, the Trustee and her counsel corresponded and

communicated with MB’s counsel. In connection with these discussions, the Trustee requested (a)

that any and all distributions from MB on behalf of the Debtor be sent to her, (b) an accounting of

any and all sales, past and future, of any and all property at the QCC project, and (c) other

information about MB.



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       35.     Upon information and belief, in response to the Trustee’s request, MB and/or its

counsel requested from one or more of the Defendants an accounting of all distributions from the

QCC project for the preceding years.

       36.     One or more of the Defendants provided MB an accounting of one of the sale

transactions at the QCC project. MB’s counsel forwarded this information to the Trustee.

Thereafter, counsel for one or more of the Defendants (and/or a related or affiliated entity)

provided to MB’s counsel a different accounting for the same transaction, and MB’s counsel

forwarded this accounting to the Trustee.

       37.     MB’s counsel again requested from one or more of the Defendants a complete

accounting of all distributions from the QCC project. MB’s counsel also informed counsel for one

or more of the Defendants that MB was cooperating with the Trustee. The Defendants knew that

MB was cooperating with the Trustee.

       38.     The Defendants had actual knowledge of the Debtor’s bankruptcy case on or before

May 7, 2015.

       39.     On information and belief, in response to learning that MB was cooperating with

the Trustee, on or about May 7, 2015, the Defendants willfully and maliciously conspired to and

acted to dilute the membership interest of MB in the QCC project with the specific intent to devalue

the Debtor’s in the QCC project.

       40.     On information and belief, certain members of the Silver Companies formed

Dynasty.

       41.     On information and belief, at the suggestion and/or insistence of one or more of the

Defendants, MB and the Defendants entered into an operating agreement (the “Second QBC

Operating Agreement”) to form the Second QBC, merging the Original QBC with the Second

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QBC. See Exhibit B. Notwithstanding that the Defendants knew that MB had retained counsel

(counsel that all knew was cooperating with the Trustee), MB’s counsel was not involved in

drafting, negotiating and/or the execution of the Second QBC Operating Agreement.

Notwithstanding that the Defendants knew that MB had retained counsel (counsel that all knew

was cooperating with the Trustee), MB’s counsel was not alerted of the fact that MB’s interest in

the QCC project and the Original QBC was being diluted with the merger of the Original QBC

into the Second QBC until after the execution of the Second QBC Operating Agreement.

       42.     On information and belief, Dynasty received a 0.01 percent ownership interest in

the Second QBC, MB received a 49.995 percent ownership interest in the Second QBC, and SHS

received an ownership interest of 49.995 percent in the Second QBC.

       43.     On information and belief, as a result of the Second QBC Operating Agreement

and creation of the Second QBC, the individuals behind SHS and Dynasty, thereafter, control a

majority interest in the QCC project to the detriment of MB and the Debtor’s interest in the QCC

project.

       44.     On information and belief, the Defendants willfully and maliciously took these

actions with the specific intent to dilute the Debtor’s ownership interest in the QCC project.

       45.     On information and belief, one or more of the Defendants, and/or authorized agents

of one or more of the Defendants, told the other members of MB that, by entering into the Second

QBC Operating Agreement, the other members of MB would be protecting themselves and their

interest in the QCC project from the Debtor’s bankruptcy case and the Trustee.

       46.     On information and belief, the Defendants’ actions were willful, with the full

knowledge of the Debtor’s bankruptcy case.



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       47.     To the extent that any of the recovery counts may be inconsistent with each other,

they are to be treated as being pled in the alternative.

       48.     The Trustee’s investigation is on-going and the Trustee reserves the right to

supplement the information on the actions of the Defendants.

                                        COUNT ONE
                           Turnover and Accounting – 11 U.S.C. § 542

       49.     The Trustee incorporates by reference the allegations contained in the previous

paragraphs of this Complaint as if fully rewritten herein.

       50.     The Debtor’s interest in the QCC project constitutes property of the Estate to be

administered by the Trustee pursuant to § 541 of the Bankruptcy Code.

       51.     As a result of the foregoing, pursuant to § 542 of the Bankruptcy Code, the Trustee

is entitled to an accounting of all distributions from the QCC project.




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                                         COUNT TWO
                             Willful Violation of the Automatic Stay

          52.   The Trustee incorporates by reference the allegations contained in the previous

paragraphs of this Complaint as if fully rewritten herein.

          53.   The Debtor’s ownership interests in the QCC project are assets of the Estate.

          54.   The Defendants are (and were at all relevant times) certainly aware of the Debtor’s

bankruptcy case.

          55.   The Defendants have willfully exercised control over property of the Debtor’s

Estate.

          56.   Despite their awareness of the existence of the Debtor’s pending bankruptcy case,

the Defendants intentionally diluted the Debtor’s ownership interest in the QCC project in willful

violation of the automatic stay of § 362(a) of the Bankruptcy Code.

          57.   The Debtor (and his Estate) has been damaged by the Defendants’ control over

property of the Estate.

          58.   As a result of the foregoing, (a) the Trustee, on behalf of the Estate, is entitled to

recover from the Defendants actual damages, including costs and attorneys’ fees, and punitive

damages, and (b) the actions taken in violation of the automatic stay should be voided.

                                           COUNT THREE
                                        Common Law Conspiracy

          59.   The Trustee incorporates by reference the allegations contained in the previous

paragraphs of this Complaint as if fully rewritten herein.

          60.   The Debtor’s interest in the Original QBC and in the QCC project constitute

property of the Estate.



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       61.     Defendants combined to accomplish, by concerted actions, the unlawful purpose

or some lawful purpose by unlawful means of (a) violating the automatic stay of the Bankruptcy

Code and/or (b) diluting the Debtor’s ownership interest in the Original QBC and/or QCC

project.

       62.     The Debtor (and his Estate) was damaged as a result of the Defendants’

conspiracy to (a) violate the automatic stay of the Bankruptcy Code and/or (b) dilute the

Debtor’s ownership interest in the Original QBC and/or the QCC project.

       63.     As a result of the foregoing, the Trustee, on behalf of the Estate, is entitled to

recover actual damages including costs and attorneys’ fees and punitive damages including but not

limited to treble damages.

                                          COUNT FOUR
                        Statutory Conspiracy Va. Code Ann. §§ 18.2-499, 500

       64.     The Trustee incorporates by reference the allegations contained in the previous

paragraphs of this Complaint as if fully rewritten herein.

       65.     Two or more of the Defendants combined, agreed, and/or mutually undertook to

willfully and maliciously injure the Debtor and/or the Debtor’s interest in the QCC project.

       66.     Defendants violated Virginia Code sections 18.2-499 and 18.2-500 and are liable,

therefore, as Defendants combined, associated, agreed, mutually undertook, and/or in concert

together to willfully and maliciously injure MB and the Debtor in the trade, business, and

profession of the two persons without lawful justification.

       67.     Defendants acted intentionally, purposefully, and without lawful justification by

intentionally and purposefully conspiring to (a) violate the automatic stay of the Bankruptcy Code

and/or (b) to dilute the Debtor and MB’s interests in the Original QBC and/or in the QCC project.


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       68.       The Debtor and/or his Estate have been damages by the Defendants’ actions.

       69.       As a result of the foregoing, the Trustee, on behalf of the Estate, is entitled to

recover actual damages including costs and attorneys’ fees and punitive damages including but not

limited to treble damages.

                                  COUNT FIVE
                 POST-PETITION TRANSFER 11 U.S.C. §§ 549, 550, AND 551

       70.       The Trustee incorporates by reference the allegations contained in the previous

paragraphs of this Complaint as if fully rewritten herein.

       71.       The Debtor’s interest in the Original QBC and/or the QCC project constituted

property of the Estate.

       72.       The Defendants conspired to directly, absolutely, and voluntarily dispose of

property or an interest in property of the Debtor by diluting and transferring the Debtor’s and MB’s

interest in the Original QBC and/or the QCC project.

       73.       The actions by which the Defendants accomplished the transfer of property of the

Estate occurred after the Petition Date.

       74.       The actions by which the Defendants accomplished transfers (as defined in §

101(54) of the Bankruptcy Code) of property of the Estate after the Petition Date by the Defendants

were not authorized under § 303(f) or 542(c) of the Bankruptcy Code or by this Court.

       75.       Any transfers (as defined in § 101(54) of the Bankruptcy Code) of property of the

Estate after the Petition Date by the Defendants was not authorized under the Bankruptcy Code or

by this Court.




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         76.   The transfer of the Debtor’s ownership interest constitute a post-petition transfer

avoidable by the Trustee pursuant to § 549 of the Bankruptcy Code and recoverable from the

Defendants pursuant to § 550(a) of the Bankruptcy Code.

         77.   The diversion of any moneys or other consideration due the Debtor as a result of

the transfers of the Debtor’s ownership interest constitute post-petition transfers avoidable by the

Trustee pursuant to § 549 of the Bankruptcy Code and recoverable from the Defendants pursuant

to § 550(a) of the Bankruptcy Code.

         78.   Wherefore, the Trustee is entitled to judgment pursuant to §§ 549, 550(a), and 551

of the Bankruptcy Code (a) avoiding, recovering, and preserving for the benefit of the Debtor’s

Estate the value of the improper transfer of the Debtor’s interest in the QCC project, (b) avoiding,

recovering, and preserving for the benefit of the Debtor’s Estate the value of the diversion and/or

payment of any moneys or other consideration due the Debtor as a result of the improper transfer

of the Debtor’s interest in the QCC project, and (c) directing that the post-petition transfer be set

aside.

                                         COUNT SIX
                        Tortious Interference with an Existing Contract

         79.   The Trustee incorporates by reference the allegations contained in the previous

paragraphs of this Complaint as if fully rewritten herein.

         80.   The Debtor had a valid business expectancy in the QCC project given his interest

in MB, MB’s operating agreement, and/or MB’s interest in the Original QBC and/or the QCC

project.

         81.   The Defendants knew of the Debtor’s contractual relationship and/or expectancy.




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       82.     The Defendants acted intentionally to interfere with (i) the contractual and/or

business relationship between the Debtor and MB (and its members) and (ii) the contractual

relationship among the Debtor, MB, and the Original QBC by inducing and causing a breach or

termination of the Original QBC, thus diluting the interest of the Debtor and MB in the QCC

project.

       83.     As a result of the Defendants’ intentional actions, the Debtor’s ownership interest

in the QCC project was diminished and damaged.

       84.     As a result of the foregoing, the Trustee, on behalf of the Estate, is entitled to actual

damages as well as the imposition of a constructive trust on any and all proceeds gained from

Defendants as a result of the contracts interfered with by the Defendants.

                                    COUNT SEVEN
 Tortious Interference with a Contract Expectancy, Prospective Business Relationship, or
                                  Economic Advantage

       85.     The Trustee incorporates by reference the allegations contained in the previous

paragraphs of this Complaint as if fully rewritten herein.

       86.     The Debtor, through MB and MB’s ownership interest in the Original QBC and/or

the QCC project, had a direct contract expectancy, prospective business relationship and/or

economic advantage given the percentage ownership interest in the QCC project.

       87.     The Defendants had actual knowledge of said contract expectancy, prospective

business relationship, and/or economic advantage.

       88.     Absent the Defendants’ intentional misconduct there existed a reasonable certainty

that the Debtor (or his Estate) would have continued in the relationship and realized the expectancy

of the value of the QCC project.



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       89.     The Defendants used improper means or methods to intentionally interfere with the

contract expectancy, prospective business relationship, and economic advantage when they

conspired to willfully and maliciously (a) violate the automatic stay of the Bankruptcy Code and/or

(b) dilute the Debtor’s interest in the QCC project.

       90.     As a result of the Defendants’ intentional actions, the Debtor’s ownership interest

in the QCC project was diminished and damaged.

       91.     As a result of the foregoing, the Trustee, on behalf of the Estate, is entitled to actual

damages as well as the imposition of a constructive trust on any and all proceeds gained from

Defendants as a result of the contracts interfered with by the Defendants.

                                        COUNT EIGHT
                                       Aiding and Abetting

       92.     The Trustee incorporates by reference the allegations contained in the previous

paragraphs of this Complaint as if fully rewritten herein.

       93.     The manager(s) and/or members of MB possessed a fiduciary duty to the Debtor.

       94.     The Defendants conspired to and did aid and abet the manager(s) and/or members

of MB to breach their duty to the Debtor.

       95.     The Defendants had actual knowledge of the fact that they were each aiding and

abetting in the breach of the aforementioned fiduciary duty to the Debtor.

       96.     The Defendants conspired to and did aid and abet each other in tortuously

interfering with the Debtor’s ownership interest in the Original QBC and/or the QCC project.

       97.     The Defendants had actual knowledge of the fact that they conspired to and did

aid and abet each other in tortuously interfering with the Debtor’s ownership interest in the

Original QBC and/or the QCC project.


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        98.     The Defendants conspired to and did aid and abet each other in statutory and

common law conspiracy.

        99.     The Defendants had actual knowledge of the fact they conspired to and did aid

and abet each other in statutory and common law conspiracy.

        100.    The Defendants individually provided substantial assistance and encouragement

of their actions.

        101.    As a result of the foregoing, the Trustee is entitled to actual and punitive damages.

        WHEREFORE, the Trustee respectfully requests that this Court enter judgment in favor of

the Trustee and against the Defendants:

        a.      On the First Claim for Relief, pursuant to §§ 542, 542, 550(a), and 551 of the

Bankruptcy Code for an accounting by the Defendants of all distributions from the QCC project;

        b.      On the Second Claim for Relief, pursuant to § 362(k) of the Bankruptcy Code: (a)

awarding any and all actual damages including but not limited to the value of the dilution of the

Debtor’s interest in the QCC project, (b) awarding punitive damages for the Defendants’ willful

and intentional actions, and (c) awarding the Trustee the costs and attorneys fees of this action;

        c.      On the Third Claim for Relief, pursuant to the common law of conspiracy, the

Trustee, on behalf of the Estate, is entitled to recover actual damages including costs and attorneys’

fees and punitive damages including but not limited to treble damages;

        d.      On the Fourth Claim for Relief, pursuant to Virginia Code sections 18.2-499 and

18.2-500, the Trustee, on behalf of the Estate, is entitled to recover actual damages including costs

and attorneys’ fees and punitive damages including but not limited to treble damages;

        e.      On the Fifth Claim for Relief, pursuant to § 549, 550(a), and 551 of the Bankruptcy

Code, the Trustee is entitled to (a) avoiding, recovering, and preserving for the benefit of the

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Debtor’s Estate the value of the improper transfer of the Debtor’s interest in the QCC project, (b)

avoiding, recovering, and preserving for the benefit of the Debtor’s Estate the value of the

diversion and/or payment of any moneys or other consideration due the Debtor as a result of the

improper transfer of the Debtor’s interest in the QCC project, and (c) directing that the post-petition

transfer be set aside;

        f.      On the Sixth Claim for Relief, pursuant to the common law of tortious interference

with an existing contract, the Trustee, on behalf of the Estate, is entitled to actual damages as well

as the imposition of a constructive trust on any and all proceeds gained from Defendants as a result

of the contracts interfered with by the Defendants;

        g.      On the Seventh Claim for Relief, pursuant to the common law of tortious

interference with a contract expectancy, prospective business relationship, or economic advantage,

the Trustee, on behalf of the Estate, is entitled to actual damages as well as the imposition of a

constructive trust on any and all proceeds gained from Defendants as a result of the contracts

interfered with by the Defendants;

        h.      On the Eighth Claim for Relief, pursuant to the common law of aiding and abetting,

the Trustee, on behalf of the Estate, is entitled to actual and punitive damages;

        i.      On all Claims for Relief, pursuant to federal common law and Va. Code Ann. §

8.01-382 awarding the Trustee prejudgment interest from the date of any transfer referenced

herein; and

        j.      Granting such other and further relief as is just and proper.


 Dated: March 25, 2016                              Respectfully submitted,
        Richmond, Virginia
                                                    By: /s/ Paula S. Beran
                                                    Lynn L. Tavenner, Esquire (VSB No. 30083)

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                                                Trustee




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